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                                                                            Los Angeles, California 90067
                                                                                       T: (310) 201-9150




                                                            October 19, 2020



Board of Directors
Co-Diagnostics, Inc.
2401 S. Foothill Drive
Salt Lake City, UT 84109

       Re:     Demand to Take Legal Action Pursuant to Utah Law

Dear Sir or Madam:

        We represent Matthew Wallace, a beneficial owner of 300 shares of common stock of Co-
Diagnostics, Inc. (“Co-Diagnostics” or the “Company”). Mr. Wallace has owned his Co-
Diagnostics stock continuously since February 2020. This letter shall serve as our client’s demand
to take legal action against all persons for the breaches of fiduciary duty set forth below. Proof of
his stock ownership is attached hereto as Exhibit A.

        As you know, Co-Diagnostics develops molecular tools for detection of infectious diseases,
liquid biopsy for cancer screening, and agricultural applications, primarily using its proprietary
Co-Primer technology.

        In the wake of the Covid-19 pandemic, the Company used its Co-Primer technology to
develop a diagnostics test—within one week, according to public reports. On February 24, 2020,
Co-Diagnostics became the first U.S. company to receive European regulatory approval to sell its
Covid-19 test kit, and on April 6, 2020, the Company was the first to receive regulatory approval
from the U.S. Food and Drug Administration (“FDA”) for Emergency Use Authorization, allowing
the tests to be used by certified clinical laboratories in the U.S.

        In the following weeks, the Company’s officers touted test as being “100% accurate.”
When The Salt Lake Tribune questioned the accuracy of Co-Diagnostics’ tests in an article on
April 30, 2020, the Company’s Chief Technology Officer, Dr. Brent Satterfield, dismissed the
concerns and reassured that the tests were between 99.52% and 100% accurate in unspecified FDA
and European studies. When public criticism mounted, Co-Diagnostics’ officers doubled down
and claimed the tests were 100% accurate. For example, on May 1, 2020, the Company issued a
press release in which Dr. Satterfield was quoted as saying “[W]e have consistently and repeatedly
achieved 100% clinical sensitivity and specificity and you can’t do better than that.”

        However, the truth began to emerge on May 14, 2020, when The Salt Lake Tribune reported
that TestUtah.com, which used Co-Diagnostics’ tests, “declined to join other major Utah labs in a
joint experiment to confirm one another’s test quality.” The article disclosed that Co-Diagnostics’
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tests “have a higher ‘limit of detection’—that is, they require more of the virus to trigger a positive
result—than most other coronavirus tests approved for sale in the U.S.” As a result, the Company’s
tests were likely to have a higher false negative reporting rate. The same day, the FDA
underscored: “No test will be 100% accurate due to performance characteristics, specimen
handling, or user error . . . .”

        Then, on May 20, 2020, statistician Zhiyuan Sun wrote an article 1 identifying details in the
Company’s studies and further casting doubt on Co-Diagnostics’ claims of a 100% accurate test.
For example, he stated that one of the studies had a sample size of only 200 patients and that
“[w]ith a sample size that small, a low error rate, say 1% to 2%, could be really hard to detect.”
He also pointed out that “the study itself explicitly stated that the test could in fact be 96% to 98%
effective, rather than 100%.”

                                          *       *        *

       Demand is hereby made that the Board investigate whether any of Co-Diagnostics’ officers
and directors committed non-exculpable breaches of fiduciary duties or other violations of
applicable law in connection with the allegations herein.

       We note that many members of the current Board do not appear disinterested and
independent for the purposes of considering or responding to this demand letter. We urge the Board
to conduct an independent and disinterested investigation of the allegations herein as it is required
to do under Utah law.

       Please confirm receipt of this letter and the measures that you plan to take to address the
harm inflicted upon Co-Diagnostics as a result of the actions and omissions alleged.

                                                      Regards,

                                                      s/Benjamin I. Sachs-Michaels
                                                        Benjamin I. Sachs-Michaels




1
   Zhiyuan Sun, “Is Co-Diagnostics’ Stock in a Bubble?” Motley Fool, (May 20, 2020).
https://www.fool.com/investing/2020/05/20/is-co-diagnostics-stock-in-a-bubble.aspx
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                             Exhibit A
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